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14                         UNITED STATES DISTRICT COURT

15                       CENTRAL DISTRICT OF CALIFORNIA

16                                    Western Division

17    SECURITIES AND EXCHANGE                     Case No. 2:17-cv-07124-PSG-RAO
18    COMMISSION,
                                                  [PROPOSED] FINAL JUDGMENT AS
19                 Plaintiff,                     TO DEFENDANT ERIC PULIER

20           vs.

21    ERIC PULIER,

22                 Defendant.

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1                FINAL JUDGMENT AS TO DEFENDANT ERIC PULIER
2          The Securities and Exchange Commission having filed a Complaint and
3    Defendant Eric Pulier having entered a general appearance; consented to the Court’s
4    jurisdiction over Defendant and the subject matter of this action; consented to entry
5    of this Final Judgment without admitting or denying the allegations of the Complaint
6    (except as to jurisdiction and except as otherwise provided herein in paragraph IV);
7    waived findings of fact and conclusions of law; and waived any right to appeal from
8    this Final Judgment:
9                                               I.
10         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
11   Defendant is permanently restrained and enjoined from violating Section 17(a)(2) and
12   17 (a)(3) of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in
13   the offer or sale of any security by the use of any means or instruments of
14   transportation or communication in interstate commerce or by use of the mails,
15   directly or indirectly:
16         (a)    to obtain money or property by means of any untrue statement of a
17                material fact or any omission of a material fact necessary in order to
18                make the statements made, in light of the circumstances under which
19                they were made, not misleading; or
20         (b)    to engage in any transaction, practice, or course of business which
21                operates or would operate as a fraud or deceit upon the purchaser.
22         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
23   provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
24   binds the following who receive actual notice of this Final Judgment by personal
25   service or otherwise: (a) Defendant’s officers, agents, servants, employees, and
26   attorneys; and (b) other persons in active concert or participation with Defendant or
27   with anyone described in (a).
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1                                                II.
2          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
3    Defendant is permanently restrained and enjoined from violating Section 13(b)(5) of
4    the Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78m(b)(5)] and
5    Rule 13b2-1 [17 C.F.R. § 240.13b2-1] thereunder by knowingly circumventing or
6    knowingly failing to implement a system of internal accounting controls to make and
7    keep books, records, and accounts of any public company, which, in reasonable
8    detail, accurately and fairly reflects the transactions and dispositions of the assets of
9    the company, or knowingly falsify or cause to be falsified the books, records or
10   accounts of any public company.
11         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
12   provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
13   binds the following who receive actual notice of this Final Judgment by personal
14   service or otherwise: (a) Defendant’s officers, agents, servants, employees, and
15   attorneys; and (b) other persons in active concert or participation with Defendant or
16   with anyone described in (a).
17                                               III.
18         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
19   Defendant is liable for disgorgement of $3,900,000, representing net profits gained
20   as a result of the conduct alleged in the Complaint, together with prejudgment interest
21   thereon in the amount of $649,976.48, and/or a civil penalty in the amount of
22   $260,000 pursuant to Section 20(d) of the Securities Act and Section 21(d) of the
23   Exchange Act. Defendant shall satisfy this obligation by paying $4,809,976.48 to the
24   Securities and Exchange Commission within 30 days after entry of this Final
25   Judgment.
26         Defendant may transmit payment electronically to the Commission, which will
27   provide detailed ACH transfer/Fedwire instructions upon request. Payment may also
28   be made directly from a bank account via Pay.gov through the SEC website at

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1    http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified
2    check, bank cashier’s check, or United States postal money order payable to the
3    Securities and Exchange Commission, which shall be delivered or mailed to
4
5                                     Enterprise Services Center
                                     Accounts Receivable Branch
6
                                   6500 South MacArthur Boulevard
7                                     Oklahoma City, OK 73169
8
9    and shall be accompanied by a letter identifying the case title, civil action number,
10   and name of this Court; Eric Pulier as a defendant in this action; and specifying that
11   payment is made pursuant to this Final Judgment.
12         Defendant shall simultaneously transmit photocopies of evidence of payment
13   and case identifying information to the Commission’s counsel in this action. By
14   making this payment, Defendant relinquishes all legal and equitable right, title, and
15   interest in such funds and no part of the funds shall be returned to Defendant.
16          The Commission may enforce the Court’s judgment for disgorgement and
17   prejudgment interest by using all collection procedures authorized by law, including,
18   but not limited to, moving for civil contempt at any time after 30 days following entry
19   of this Final Judgment.
20         The Commission may enforce the Court’s judgment for penalties by the use of
21   all collection procedures authorized by law, including the Federal Debt Collection
22   Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil contempt for the
23   violation of any Court orders issued in this action. Defendant shall pay post
24   judgment interest on any amounts due after 30 days of the entry of this Final
25   Judgment pursuant to 28 U.S.C. § 1961. The Commission shall hold the funds,
26   together with any interest and income earned thereon (collectively, the “Fund”),
27   pending further order of the Court.
28         The Commission may propose a plan to distribute the Fund subject to the

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1    Court’s approval. Such a plan may provide that the Fund shall be distributed
2    pursuant to the Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act of
3    2002. The Court shall retain jurisdiction over the administration of any distribution
4    of the Fund and the Fund may only be disbursed pursuant to an Order of the Court.
5          Regardless of whether any such Fair Fund distribution is made, amounts
6    ordered to be paid as civil penalties pursuant to this Judgment shall be treated as
7    penalties paid to the government for all purposes, including all tax purposes. To
8    preserve the deterrent effect of the civil penalty, Defendant shall not, after offset or
9    reduction of any award of compensatory damages in any Related Investor Action
10   based on Defendant’s payment of disgorgement in this action, argue that he is entitled
11   to, nor shall he further benefit by, offset or reduction of such compensatory damages
12   award by the amount of any part of Defendant’s payment of a civil penalty in this
13   action (“Penalty Offset”). If the court in any Related Investor Action grants such a
14   Penalty Offset, Defendant shall, within 30 days after entry of a final order granting
15   the Penalty Offset, notify the Commission’s counsel in this action and pay the amount
16   of the Penalty Offset to the United States Treasury or to a Fair Fund, as the
17   Commission directs. Such a payment shall not be deemed an additional civil penalty
18   and shall not be deemed to change the amount of the civil penalty imposed in this
19   Judgment. For purposes of this paragraph, a “Related Investor Action” means a
20   private damages action brought against Defendant by or on behalf of one or more
21   investors based on substantially the same facts as alleged in the Complaint in this
22   action.
23                                                  IV.
24         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for
25   purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code,
26   11 U.S.C. §523, the allegations in the complaint are true and admitted by Defendant,
27   and further, any debt for disgorgement, prejudgment interest, civil penalty or other
28   amounts due by Defendant under this Final Judgment or any other judgment, order,

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1    consent order, decree or settlement agreement entered in connection with this
2    proceeding, is a debt for the violation by Defendant of the federal securities laws or
3    any regulation or order issued under such laws, as set forth in Section 523(a)(19) of
4    the Bankruptcy Code, 11 U.S.C. §523(a)(19).
5                                                   V.
6          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court
7    shall retain jurisdiction of this matter for the purposes of enforcing the terms of this
8    Final Judgment.
9
               Dated: 05/20/21               ____________________________________
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                                             UNITED STATES DISTRICT JUDGE
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